           Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 1 of 15



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

DEBORAH LAUFER,                              *
                                             *
             Plaintiff,                      *
                                             *
       v.                                    *      Civil Action No.: 1:20-cv-2136
                                             *
NARANDA HOTELS, LLC,                         *
                                             *
                Defendant.                   *

       *        *         *   *      *       *      *       *       *      *       *      *

               DEFENDANT'S REPLY TO PLAINTIFF'S MEMORANDUM
               IN OPPOSITION TO DEFENDANT'S MOTION TO DISMISS

       Defendant Naranda Hotels, LLC (hereinafter "Naranda"), through undersigned counsel,

submits the following Reply to Plaintiff's Memorandum in Opposition to its Motion to Dismiss

Plaintiff Deborah Laufer's Complaint on grounds that this Court lacks subject matter jurisdiction:

I.     BACKGROUND

       The Plaintiff Deborah Laufer, a resident of Florida, filed a Complaint herein against

Defendant Naranda, purportedly pursuant to the Americans with Disabilities Act, 42 U.S.C.,

sections 12181, et seq.,      (hereinafter the “ADA”) contending that Naranda has violated the

ADA because information about Naranda's hotel, shown on third party websites operated by

booking.com, trip.com, priceline.com, agoda.com, expedia.com, and orbitz.com, failed to "meet

the requirements of 28 C .F .R., section 36.302(e) and her accessibility needs" (Complaint par.

10). Plaintiff has not alleged that she has ever attempted to book a room at Naranda's hotel. She

does not allege that she has ever contacted Naranda's hotel, or visited Naranda's brand website.

Significantly, Plaintiff does not allege that Naranda's brand website fails to meet the

requirements of the ADA.
         Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 2 of 15



       There is no allegation in the Complaint that Plaintiff has ever visited Baltimore, or has

ever had an intention to visit Baltimore. Plaintiff has not alleged that Naranda owned or

controlled the content of the third party websites she has identified as being owned, operated

and/or maintained by "booking.com, trip.com, priceline.com, agoda .com, expedia.com, and

orbitz.com".

       Plaintiff has not alleged that these third party websites did not contain information which

allowed Plaintiff to access Naranda's brand website.        The Complaint does not allege that

Naranda’s website did not contain information which allowed Plaintiff to determine whether

accessible rooms were available for her to book. The Affidavit of Naranda employee Ashley

Cherry, attached hereto as Exhibit A, establishes that Naranda’s website did contain (and

currently does contain) information compliant with the ADA, including information regarding

availability of accessible rooms.

       Plaintiff claims that "[t]he violations present at Defendant's websites infringe Plaintiff's

right to travel free of discrimination and deprive her of the information requires to make

meaningful choices to travel," even though Plaintiff does not allege that 1) she ever intended to

travel to Baltimore, 2) that she has ever tried to book a reservation at Naranda's hotel, or 3) that

she has ever visited Naranda's hotel's website after seeing Naranda's hotel listed on the third

party sites. Plaintiff claims that the alleged lack of information on the third party websites

discriminate against her and "…it is thereby more difficult to book a room at the hotel or make

an informed decision as to whether the facilities at the hotel are accessible" (Complaint par. 13).

Apparently the Plaintiff never attempted to visit Naranda's hotel's website, or attempted to do so,

but was unable to book a room which accommodated her. The Complaint does not allege that

Naranda's hotel is not, in fact, accessible, or does not allow for the reservation of accessible



                                                -2-
         Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 3 of 15



rooms. Plaintiff has not attached to her Complaint screenshots or documents reflecting the third

party sites she visited and the information she found on the third party sites.

       It is evident from the face of the Complaint that the Plaintiff has not alleged facts that

would establish that she has or will suffer an injury in fact that is individual to her, and not

common to all disabled members of the public. It is also clear from the Complaint that Plaintiff

does not know whether Naranda's website complies with the Act because there is no allegation

that she ever went to Naranda's website after becoming aware of Naranda's hotel on the third

party websites operated by "booking.com, trip.com, priceline.com, agoda .com, expedia.com,

and orbitz.com".

       Plaintiff has responded with a 32 page Memorandum in Opposition to Defendant's

Motion to Dismiss, which devotes significant "argument' to issues which are not contested by

Defendant. For example, Plaintiff's Memorandum "argues" that a plaintiff is not precluded from

bringing an action for violation of the Americans with Disabilities Act simply by virtue of the

fact that the plaintiff is a "tester". Defendant has not argued in its Motion to Dismiss that

Plaintiff's status as a "tester" automatically precludes her from bringing this action. However,

Defendant does contend that Plaintiff’s "tester" status does not confer standing, and that a

“tester” is nevertheless required to meet the constitutional standing requirements before a federal

court may exercise subject matter jurisdiction over the action.

       Plaintiff's Memorandum in Opposition to Defendant's Motion to Dismiss, and its

Affidavit and DOJ attachment, fail to adequately address the lack of standing issue, and fail to

establish that Plaintiff has or will suffer an injury in fact which would be necessary to for this

Court to exercise subject matter jurisdiction.




                                                 -3-
         Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 4 of 15



II.    REPLY ARGUMENT

       A.      Plaintiff's Status as a "tester".

       Defendant does not contest that the Plaintiff's status as a “tester” does not preclude

standing. However, her status as a tester does not confer standing. A Plaintiff bringing an action

in her capacity as a tester must still demonstrate that she has standing by establishing an injury in

fact, and a real and imminent threat of future injury. See Houston v. Marod Supermarkets, Inc.,

733 F. 3d 1322, 1334-1335 (11th Cir. 2013); Hernandez v. Caesars License Co., 2019 U. S. Dist.

LEXIS 172456, pp.10 – 11(D. N. J. 2019); Cohan v. Cal. Pizza Kitchen, Inc., 2019 U. S. Dist.

LEXIS 150269 (E. D. Mich. 2019); Norkunas v. Park Rd. Shopping Ctr., Inc., 777 F. Supp. 2d

998, 1005 (W. D. N. C. 2011) aff'd. 424 Fed. Appx. 369 (4th Cir. 2012). Tester status does not

relieve a Plaintiff of the burden to prove standing.

       B.      Plaintiff's Complaint fails to establish that she has standing.

               1.      Plaintiff has failed to allege facts demonstrating that she has suffered an
                       injury in fact, and an imminent threat of future injury.

       Where standing is challenged, the Plaintiff has the burden of establishing each prong of

the minimum standard for standing. Equal Rights Ctr. v. Abercrombie & Fitch Co., 767 F. Supp.

2d 510, 514 – 515 (D. Md. 2010) citing Friends for Ferrell Parkway, LLC v. Stasko, 282 F. 3d

315, 320 (4th Cir. 2002). In order to meet the minimum standard for standing, the Plaintiff must

establish:

       1)      An injury in fact which is both "concrete" and "particularized" and "actual and

               imminent";

       2)      A causal connection between the injury and the conduct of the defendant; and

       3)      The likelihood that the injury will be redressed by a favorable decision.




                                                -4-
         Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 5 of 15



Equal Rights Ctr. v. Abercrombie & Fitch Co., supra at 514-515, citing Lujon v. Defenders of

Wildlife, 504 U. S. 555, 560-561, 112 S. Ct.2130 (1992). The basis for standing must exist at the

time of commencement of the action. Equal Rights Ctr. v. Abercrombie & Fitch Co., supra at

515.

       To establish an injury in fact, or the threat of an imminent future injury, the Plaintiff had

the burden of establishing that she attempted to utilize Naranda's hotel and could not, and an

intention to use the hotel in the future. See Proctor v. Prince George's Hospital Center, 32 F.

Supp. 3d. 830, 833 (D. Md. 1998); Narkunas v.Park Rd. Shopping Ctr., Inc., 777 F. Supp. 2d

998, 1001 (W. D. N. C. 2011) aff'd 424 Fed. Appx. 369 (4th Cir. 2012). General expressions of

intent to return to and/or utilize a defendant's facility are not sufficient. Expressions of "some-

day" intentions, without a description of concrete plans, are not sufficient. National Alliance for

Accessibility, Inc. v. Big Lots Stores, Inc., 2012 U. S. Dist. LEXIS 58200, p. 13 (M. D. N. C.

2012). In assessing the credibility of the allegations of intent to return to a defendant's facility,

the court considers:

       1)         A plaintiff's proximity to the defendant's facility,

       2)         A plaintiff's past patronage;

       3)         The definiteness of the plaintiff's plans to return; and

       4)         The plaintiff's frequency of nearby travel.

Equal Rights Ctr. v. Abercrombie & Fitch Co., supra, at 516; Proctor v. Prince George's

Hospital Center, supra at 833; National Alliance of Accessibility, Inc. v. Big Lots Stores, Inc.,

supra at p. 14.

       In this case, the Plaintiff's Complaint does not allege that Plaintiff ever tried to book a

room at Naranda's hotel, or that she has definite plans to book a room in the future. There is no



                                                   -5-
         Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 6 of 15



allegation that she ever visited the Baltimore Metropolitan area in the past, or has definite plans

to visit the area in the future. The Complaint does not allege that the Plaintiff ever visited

Naranda's website, only the third party websites operated by others. There is no allegation that

Naranda's own website did not provide accessibility information, or would not permit her to

book an accessible room. There is no allegation that Plaintiff ever contacted Naranda or visited

Naranda's website after learning of the existence of Naranda's hotel on the third party operated

websites.

       Perhaps realizing that her Complaint fails to allege facts demonstrating that she has

suffered an injury in fact, or the threat of an imminent future injury, Plaintiff has now filed an

Affidavit wherein she claims that "…as soon as the Covid crisis abates, Plaintiff intends to travel

to Maryland, travel all over the State, including the Baltimore area, and stay in area hotels"

(Plaintiff's Memorandum p. 2; Affidavit of Plaintiff). The Affidavit does not establish that the

Plaintiff has ever travelled to Maryland, or to the Baltimore area in the past, or that she has ever

attempted to book a room at Naranda's hotel in the past, or at any hotel in Maryland in the past.

The Affidavit does not offer any facts to explain why Plaintiff has an interest in travelling to

Maryland in the foreseeable future. Significant to the imminent future injury issue is the fact that

Plaintiff now states in her Affidavit that she plans to travel to this area "as soon as the Covid

crisis abates". There is no indication as to what Plaintiff means by "as soon as the Covid crisis

abates". Does Plaintiff contend that the Covid crisis will have sufficiently abated that she is

willing to travel when the rate of positive tests in Maryland drops below a certain percentage?

Will the Plaintiff consider the Covid crisis to have sufficiently abated when an effective vaccine

has been administered to a specified percentage of the population? Will the Plaintiff consider the

Covid crisis to have sufficiently abated when no new cases have been reported in Maryland after



                                                -6-
         Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 7 of 15



a specified period? The statements in the Affidavit, when accepted in the light most favorable to

the Plaintiff, fail to establish specific or concrete plans on the part of Plaintiff to travel to

Maryland, or to utilize Naranda's hotel sufficient to establish a threat of imminent future injury.

The allegations amount to nothing more than "some- day" plans to travel to Maryland. See

Carroll v. Northwest Fed. Credit Union, 770 Fed Appx. 102, 104 (4th Cir. 2019). Contrary to

Plaintiff’s argument, the decision in Griffin v. Dep’t of Labor Fed. Credit Union, 912 F. 3d 649

(4th Cir. 2019) is availing. Plaintiff’s Affidavit filed with her Memorandum makes Griffin all the

more applicable because it confirms that Plaintiff’s recently expressed travel plans do not

become imminent, and thus her threat of imminent harm does not materialize, until the Covid

crisis “abates.”

        Far from establishing the existence of an injury in fact, Plaintiff's Affidavit confirms that

any injuries suffered by Plaintiff, including future injuries, are speculative and non-specific. The

Affidavit affirmatively establishes that at the time she viewed the third party sites, Plaintiff could

not have suffered an injury in fact, or the imminent threat of future harm. The Plaintiff's

allegations are insufficient to establish constitutional standing.

        In addition, the Affidavit of Naranda employee, Ashley Cherry, attached hereto,

establishes that the problem encountered by Naranda in having information regarding room

availability posted on the third party sites, which apparently serves as the basis of Plaintiff’s

allegation that the third party sites violated the ADA, was corrected in early September 2020. As

demonstrated below, because Plaintiff’s plans to travel to the Baltimore area are based upon the

abatement of the Covid crisis, which has not yet occurred, Plaintiff cannot establish that any

alleged violation interfered with her travel plans.




                                                 -7-
         Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 8 of 15



               2.      Under the circumstances of this case, the third party operated
                       websites themselves were not public accommodations as contemplated
                       under the ADA

       Plaintiff apparently contends in her Memorandum in Opposition to Motion to Dismiss

that the third party sites operated by booking.com, trip.com, priceline.com, agoda .com,

expedia.com, and orbitz.com were themselves places of public accommodation and, therefore,

Plaintiff suffered an injury in fact when she visited those sites and allegedly discovered that they

did not display the availability of accessible rooms at Naranda's hotel and/or did not provide

sufficient accessibility information. She argues that because the third party websites were places

of public accommodation, she need not establish that she has ever attempted to book a room at

Naranda's hotel, or an intention to travel to the Baltimore area, or an intention to book a room at

Naranda's hotel in the future. Plaintiff argues that simply viewing the third party operated sites

constitutes a sufficient injury to establish standing. Plaintiff’s argument is not supported by law,

or the circumstances specific to this case.

       First, Plaintiff has not shown that the third party websites operated by booking.com,

trip.com, priceline.com, agoda .com, expedia.com, and orbitz.com should be recognized as

places of public accommodation under the ADA. It is not clear that the Fourth Circuit would

conclude that a third party website, not connected to the Defendant's hotel, is a public

accommodation under the ADA. See Noah v. AOL Time Warner, Inc., 261 F. Supp. 2d 532, 540

– 545 (E. D. Va. 2003) aff'd 2004 U. S. App. LEXIS 5495 (4th Cir. 2004); Binks v. Ally Bank,

2020 U. S. Dist. LEXIS 174344, p. 6 n.3 (D. Md. 2020)(Title II); Stanford v. Halloway, 2017

U. S. Dist. LEXIS 39290, pp. 7 – 8 (D. Md. 2017)(Tittle II); Buchholz v. Aventura Beach

Assoc's., 2018 U. S. Dist. LEXIS 2177 (S. D. Fla. 2018).




                                                -8-
         Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 9 of 15



       Plaintiff relies upon numerous decisions from the District Courts in the Southern District

of Florida, which she contends support the proposition that websites constitute places of public

accommodation, thereby obviating the need for her to establish that she has visited Naranda's

Hotel, or intends to do so in the immediate future. Plaintiff’s argument overlooks the fact that in

Buchholz v. Aventura Beach Assoc's., supra, the Court observed that a "multitude of courts in the

Southern District of Florida" are split on the issue of whether the ADA limits places of public

accommodation to physical places. Id. at p. 5. The court in Buchholz observed that the 1st, 2nd

and 7th Circuits have found that the Act applies to websites regardless of a connection to a

physical facility. Id. The 3rd, 6th and 9th Circuits have held that the Act applies only if the goods

and services offered on the website have a sufficient nexus to a physical place. Id., at p. 6. The

Buchholz Court stated that the 11th Circuit has not expressly adopted either position, but has

expressed support for those decisions which "require a nexus between the challenged service and

the premises of the public accommodation." Id., at p. 7.

       The decisions from the Southern District of Florida do not uniformly support Plaintiff's

position that the third party websites at issue should be considered places of public

accommodation under the ADA. For example, in Lucius v. G-III Apparel Grp., Ltd., 2019 U. S.

Dist. LEXIS 126810, pp. 3 – 6 (S. D. Fla. 2019), the Court held that the website in question was

not a place of public accommodation, and that there was no injury demonstrated because there

were no allegations that the lack of information on the website hindered the plaintiff from

accessing the Defendant’s store. The Court in Lucius stated that the majority of the decisions

from the Southern District of Florida agree that websites are not covered under the ADA unless

some factor hinders the full use and enjoyment of the space, citing Gomez v. Bang & Olufsen

Am., Inc., 2017 U. S. Dist. LEXIS 15457, p.3 (S. D. Fla. 2017). A similar result was reached in



                                                -9-
        Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 10 of 15



Haynes v. Pollo Operations, Inc., 2018 U. S. District LEXIS 51748 (S. D. Fla 2018). In Reddish

v. Ovadia, 2020 U. S. LEXIS 145940, pp. 14 – 15 (S. D. Fla. 2020), the court held that the

website constituted a place of public accommodation, however, in reaching its conclusion, the

Court noted that the defendant directly operated and exclusively controlled the website and its

content. The case did not involve a third party operated website where there has been no

allegation that the defendant exclusively controlled the site. In Fuller v. Mazal Group, LLC,

2018 U. S. Dist. LEXIS 129969, pp. 10 - 11 (S. D. Fla. 2018), the court based its standing

conclusion on the fact that the plaintiff alleged that he had patronized the defendant's business in

the past, and had definite plans to do so in the future.

        Unlike the websites involved in most of the cases cited by Plaintiff, the websites involved

in this case are owned and operated by third parties booking.com, trip.com, priceline.com,

agoda.com, expedia.com, and orbitz.com. Plaintiff has not alleged that Naranda owns those third

party sites, or directly or exclusively controls the sites.

        Plaintiff argues that “[i]nformational injury has been recognized in this Circuit,” citing to

Co. Doe v. Pub. Citizen, 749 F. 3d 246, 263-264 (4th Cir. 2014) and Murray Energy Corp. v.

McCarthy, 2015 U. S. Dist. Lexis 39130, pp. 20 – 21 (N. D. W. Va. 2015)(Plaintiff’s

Memorandum in Opposition, p. 19). However, neither case is applicable to the ADA claims in

this case. Co. Doe v. Pub. Citizen involves the public’s right to information contained in Court

records. Murray Energy involved the public’s right to access to EPA investigation materials.

Neither case even remotely addresses the issue of whether a third party operated website is

considered a public accommodation under the ADA, and neither case addresses the sufficiency

of the information posted on such sites.




                                                  - 10 -
        Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 11 of 15



       The third party websites involved in this case cannot be considered to be places of public

accommodation because the availability of information regarding accessible rooms at Naranda’s

Hotel is not limited to these third party websites. While the third party sites operated by

booking.com, trip.com, priceline.com, agoda.com, expedia.com, and orbitz.com. include listings

for Naranda’s Hotel, and numerous other hotels, Naranda also has its own brand website which

contains ADA compliant information, and on which Plaintiff had the ability to determine

whether accessible rooms were available, and if so, allowed Plaintiff to book an accessible

room. The Plaintiff has not alleged in her Complaint that she ever attempted to access Naranda’s

brand website, that she was unable to access Naranda's website, or that she was unable to find

information regarding the availability of accessible rooms on Naranda's website. There is no

allegation that Narander's website is not ADA compliant. Plaintiff has not established that the

information she was seeking was not available on Naranda's website once she learned of the

existence of Naranda's Hotel on the third party operated websites. Thus, this Court does not

need to determine whether the Fourth Circuit would hold that the ADA applies to websites

generally, or applies to the third party websites at issue in this case, and if so, under what

circumstances, because there has been no showing that Naranda exclusively controlled these

third party sites, and no showing that the information/access Plaintiff alleges she sought was not

available to her on Naranda’s website. Under the circumstances presented by this case, there is

no basis for concluding that the third party websites operated by booking.com, trip.com,

priceline.com, agoda.com, expedia.com, and orbitz.com. are public accommodations, for which

Naranda is responsible. The information posted on the third party websites must be considered

in addition to the information available on Naranda’s brand website.




                                              - 11 -
        Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 12 of 15



               3.     Plaintiff’s Complaint and Memorandum in Opposition to Motion to
                      Dismiss fail to establish that Naranda violated the ADA, or that
                      Plaintiff has suffered an injury in fact, or faces the threat of imminent
                      future harm caused by any such violation.

       What distinguishes this case from the cases relied upon by the Plaintiff is the fact that the

information which Plaintiff contends was not available to her on the third party operated

websites was in fact available to her on Naranda’s brand website. Plaintiff does not allege that

she ever attempted to access Naranda’s website, or that the information and ability to book

accessible rooms on Naranda’s website did not exist. There is no allegation that once the

Plaintiff became aware of Naranda’s Hotel on the third party operated sites, that Plaintiff was

unable to access Naranda’s site, or that doing so was unreasonably difficult. Moreover, as the

attached Affidavit of Naranda’s employee, Ashley Cherry, demonstrates, it does not appear that

there was an actionable violation of the ADA, even assuming Plaintiff's allegation that some of

the third party sites temporarily did not show available accessible rooms at Naranda’s Hotel.

       The Affidavit of Ashley Cherry establishes that Naranda maintained a threshold number

of rooms of each type (i.e. rooms with two queen beds, rooms with king beds, etc.) which were

not available for booking on third party sites to avoid a customer conflict where the last

remaining room of a particular type is booked by customers on Naranda’s website, or at

Naranda’s physical location, before Naranda receives notice that the room has been booked on a

third party site. Naranda discovered that maintaining such a threshold in some cases limited the

number of accessible rooms showing on third party sites. Ms. Cherry’s Affidavit establishes that

on or about July 10, 2020, she sent an electronic refresh notice to Expedia.com (which operates

more than one of the third party sites identified in the Complaint) directing that the threshold

number of each type of room held back from availability on the third party sites be reduced to

one. The reduction of the threshold for each type of room to one meant that all of Naranda’s

                                               - 12 -
        Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 13 of 15



Hotel’s rooms of each particular type would be available for booking on the third party sites.

The Affidavit establishes that when Naranda was served with this lawsuit, Ms. Cherry performed

a website audit on behalf of Naranda. Ms. Cherry determined that Naranda’s room availability

was not displaying on the Expedia.com site in accordance with the notice sent to Expedia.com.

Ms. Cherry contacted Expedia.com and the problem was corrected in early September 2020.

There was no discriminatory or wrongful conduct on the part of Naranda.

       The Complaint does not allege that Naranda’s website failed to include compliant

information regarding available rooms. Plaintiff does not allege that she attempted to access

Naranda’s website to book a room, but was unable to do so.

       As demonstrated below, whatever alleged violation of the ADA may have occurred on

the third party sites was corrected in early September 2020. Inasmuch as the Plaintiff’s Affidavit

states that she plans to travel to the Baltimore area once the “Covid crisis abates”, there are no

facts to support the threat of imminent future injury to Plaintiff because the Covid crisis has not

yet abated.

               4.     The Plaintiff has not established that even if there had been a
                      violation of the ADA based upon an alleged temporary lack of
                      sufficient information on the third party websites, that the alleged
                      violation requires redress, or that the violation can be redressed in
                      this action where the owners and operators of the third party websites
                      are not parties.

       Even if the Plaintiff had sufficiently alleged a violation of the ADA based upon a

temporary lack of information appearing on the third party sites owned and operated by

booking.com, trip.com, priceline.com, agoda.com, expedia.com, and orbitz.com, the Affidavit of

Naranda employee Ashley Cherry demonstrates that any such violation was not the result of

intentional conduct for which Naranda is responsible. To the extent any such violation existed, it

was corrected in early September, 2020, before Plaintiff filed her Affidavit expressing her desire

                                               - 13 -
        Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 14 of 15



to travel to Baltimore once the Covid crisis abates.        Any such alleged violation has been

remedied before the Plaintiff has faced an imminent threat of future harm because, unfortunately,

the Covid crisis has not yet “abated”, and Plaintiff’s expressed travel plans have not been

affected in any way. Plaintiff, therefore, has suffered no injury in fact, or the threat of future

imminent harm requiring redress.

       Moreover, if there was an alleged violation of the ADA because the third party websites

did not display sufficient information, then it seems apparent under the circumstances of this

case that such alleged violation, and the threat of injury in the future, if any, cannot be redressed

where the third party operators of the websites are not parties.

III.   CONCLUSION

       The Plaintiff has not established that she has standing to bring this action because she has

not demonstrated that she has suffered an injury in fact, or a risk of imminent future harm. The

Plaintiff’s Opposition and Affidavit actually confirm that Plaintiff cannot show an individualized

injury in fact. The third party operated websites are not places of public accommodation. The

Plaintiff has not demonstrated a violation of the ADA. The Affidavit of Naranda’s employee,

Ashley Cherry, establishes that any alleged violation has been corrected.

       For the reasons set forth herein, and those set forth in the Motion to Dismiss and

Memorandum in Support of Motion to Dismiss, Plaintiff’s action should be dismissed for lack of

subject matter jurisdiction.




                                                - 14 -
        Case 1:20-cv-02136-CCB Document 17 Filed 10/21/20 Page 15 of 15



                                               DECARO, DORAN, SICILIANO,
                                               GALLAGHER & DeBLASIS, LLP


                                     By:        /s/ Steven J. Parrott
                                               Steven J. Parrott, #02162
                                               DeCaro, Doran, Siciliano,
                                                 Gallagher & DeBlasis, LLP
                                               17251 Melford Boulevard, Suite 200
                                               Bowie, Maryland 20715
                                               (301) 352-4950
                                               Sparrott@decarodoran.com
                                               Attorneys for Naranda Hotels, LLC


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 21st day of October, 2020, Defendant’s Reply to

Plaintiff’s Memorandum in Opposition to Motion to Dismiss was electronically filed and served

on counsel of record for Plaintiff, and a copy emailed and sent via first class U.S. Mail, postage

prepaid to:

               Tristan W. Gillespie, Esquire
               Thomas B. Bacon, P.A.
               5150 Cottage Farm Road
               Johns Creek, GA 30022
               Gillespie.tristan@gmail.com
               Attorneys for Plaintiff

                                                         /s/ Steven J. Parrott
                                                         Steven J. Parrott, #02162




                                                - 15 -
